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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGN

UNITED STATES OF AMERICA,

Plaintiff,
vs

LARRY CHARLES INMAN,

Defendant.

Christopher M. O’Connor (P71846)
Assistant United States Attorney
330 Ionia Ave NW

Grand Rapids, MI 49503-2504
(616) 456-2404
Christopher.oconnor(@usdoj.zov

Ronald M. Stella (P45316)
Assistant United States Attorney
330 Ionia Ave NW

Grand Rapids, MI 49503-2504
(616) 456-2404

Ron. stella(@usdoj. gov

SOUTHERN DIVISION

Case No. 1:19-cr-117
Hon. Robert J. Jonker
Hon. Phillip J. Green

/

Christopher K. Cooke (P35034)
NEUMANN LAW GROUP
Attorney for the Defendant

300 East Front Street, Suite 445
Traverse City, MI 49684

(231) 221-0050
chris@neumannlaweroup.com

/

DEFENDANT LARRY CHARLES INMAN’S SECOND SUPPLEMENTAL BRIEFING
PURSUANT TO THE COURT’S ORDER OF AUGUST 9, 2019 (ECF 43)

NOW COMES THE DEFENDANT LARRY CHARLES INMAN, by and through his attorneys

of record, NEUMANN LAW GROUP and pursuant to the Court’s Order (ECF 43) submits the

following supplemental briefing.

A. COUNT II OF THE INDICTMENT, A CHARGED VIOLATION OF 18 U.S.C.

sec 666(a)(1)(B), MUST BE DISMISSED FOR LACK OF JURISDICTION.
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Defendant Inman has raised the issue of lack of jurisdiction by the Federal government
to prosecute a member of the Michigan House of Representatives under 18 U.S.C. sec
666(a)(1}(B), Count II of the Indictment. As previously argued, to establish this offense the
government must prove:

a. the defendant was an agent of an organization, government or agency;

b. in a one-year period that organization, government or agency received federal benefits

in excess of $10,000...

United States v, Abbey, 452 F. Supp 2d 766 (2006).
The Indictment alleges, and it is true, that, at all relevant times, Defendant Inman was a member
of the Michigan House of Representatives. The federal statue requires ‘at organization,
government or agency, to receive federal benefits in a one-year period in excess of $10,000.

Defendant has attached an affidavit from Mr. Doug Simon who is the Chief Financial
Officer and Business Director of the Michigan House of Representatives. He attests to this Court
that the Michigan House of Representatives is a sovereign and independent branch of the state
government with its own budget. The House budget is separate from the budget for the State of
Michigan and all other branches of state government. For the fiscal years under consideration,
2018 and 2019, the Michigan House of Representatives received no federal funding.
Furthermore, dating back to January of 2017, when Mr. Simon was appointed to this position,
the Michigan House of Representatives never received federal funding (Exhibit A).

As a matter of law, the government cannot establish the jurisdictional foundation

necessary to bring this charge against Defendant Inman.
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B. COUNT I OF THE INDICTMENT MUST BE DISMISSED ON
JURISDICTIONAL GROUNDS AND PRINCIPALS OF FEDERALISM

Defendant Inman has requested dismissal of the Hobbs Act violation (18 U.S.C. sec.
1951, Count 1 of the Indictment) asserting that there was not the requisite affect on commerce
required by the statute. Although the scope of authority of the Hobbs Act has been expanded, it
still requires proof of a minimal effect on commerce or a realistic probability of an affect on
commerce, United States v. Nelson, 486 F. Supp. 464 (1980). As argued to the Court, Defendant
Inman’s “No” vote on the initiative petition, which is the alleged “quid” for the “pro quo” of a
legitimate campaign contribution, had no realistic probability to affect commerce, A “No” vote,
had it been in the majority of either the House or Senate, would have sent the ballot initiative to a
vote of the general electorate. The voting citizens of Michigan would then have been the
deciding votes on the question of repealing the Prevailing Wage law. The fact that the initiative
may have been sent to a vote of the citizens of Michigan if a “No” vote by the defendant been in
the majority in no way implicates an impact on interstate commerce.

The Government’s reply was that the Michigan Regional Association of Carpenters and
Millwrights (MRCCM) buys commodities through Amazon on the internet and the alleged
extortion, if successful, would have reduced the amount of money the MRCCM could spend
through Amazon. This is the best “affect on commerce” under the Commerce Clause that the
government can argue. This should not be the threshold adopted by this Court.

The Hobbs Act was enacted in 1946 long before Amazon and the use of the internet. The
goal of the Act was to deal with the very real problem of the “levy of blackmail on industry”
committed by “professional gangsters.” United States v. Harding, 363 F. 2d 299 (6" Cir. 1977).

If the depletion of MRCCM assets to use Amazon to buy commodities on the internet is an
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adequate basis for jurisdiction, there would be no limit to the reach of the federal government in
a Hobbs Act prosecution. Undoubtedly, every Michigan business, union, organization or
individual spends money on the internet. Under the government’s argument, a text message sent
by any legislator to anyone in the state which purports to solicit campaign contributions could
form the basis of a Hobbs Act prosecution, if that legislator votes favorably for legislation openly
favored by the recipient of the text message. The potential abuse by the government of this
power, or by lobbyists who are unsatisfied with a vote by a specific legislator and who claim
they were extorted by the text message, would be totally unchecked by any Court oversight.
That was a reason why the Nelson “realistic probability” rationale also requires a nexus between
the extortionate act and the affect on commerce, United States v. Elders, 369 F. 2d 1020 (1978).
This leads directly to the more central concern that the U.S. Supreme Court and this
Court has focused on the government’s prosecution. What the government proposes is to
prosecute a Michigan legislator for an attempted violation of the Hobb’s Act, a felony punishable
by a 20 year prison sentence, for sending a text message to a Michigan lobbyist organization, that
buys some commodities on Amazon, soliciting campaign contributions to support controversial
legislation. This expansive interpretation of a Hobb’s Act prosecution, under the government’s
theory, has no limits.

While the United States Supreme Court warned that “a statute in this field that can
linguistically be interpreted to be either a meat axe or a scalpel should reasonably be taken to
be the later”, U.S. v. Sum -Diamond Growers, 526 U.S. 398 (1999), the government’s argument
would expand the reach of the Hobb’s Act into a pulverizer. The Supreme Court also instructed

as to the potential overbreadth of this interpretation:
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“The basic compact underlying representative government assumes that public
officials will hear from their constituents and act appropriately on their concerns-
whether it is the union official worried about a plant closing or the homeowners
who wonder why it took five days to return power to their neighborhood after a
storm, The Government’s position could cast a pall of potential prosecutions over
these relationships if the union had given a campaign contribution in the past or
the homeowner’s invited the official to join them on their annual outing to the
ballgame. Officials might wonder if they could respond to the most
commonplace requests for assistance...” United States v. McDonnell 136 S.

Ct. 2355, (2016) at p. 42,43.

The Court also highlighted this concern in its preliminary statements before oral
argument on Defendant’s motion to dismiss (ECF 44, PageID.288). What are the limits to the
government’s theory of the reach of the Hobbs Act? Combining the government's jurisdictional
arguments with the use of a legitimate campaign contribution as the “quid”, the Defendant sees
no boundaries of any kind to a prosecution of an elected official under this theory.

One need not look far to see how this argument could run afoul of the cautions of the
United States Supreme Court in McDonnell. A public record exists as to which legislator’s voted
in favor of the MRCCM’s position ( a “No” vote on the initiative petition, Exhibit B). A public
record also exists as to which legislators received money from the MRCCM both directly before
and after the vote (Exhibit C). The Journal for the Michigan House of Representatives for June
6, 2018 reflects the votes cast for and against the Prevailing Wage initiative. Seven Republican

legislator voted “No” { a vote to send the petition to the general ballot, a vote the MRCCM and
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its supporting unions favored). Under the government’s theory here is a partial list of the next

possible government targets:

 

Representative Campaign Contributions Contributor Date of Contribution
received

Gary Howell $5,000 Mi Laborers 3/22/19
$4,000 MRCCM 9/25/18
$3,000 MRCCM 5/2518

Joe Bellino $4,750 MRCCM 5/16/18

Steve Marino $2,500 Mi Laborers 1/25/18
$2,500 Opertng Engs, 3/5/18
$5,000 Mi Carpenters 5/16/18
$ 500 MRCCM 12/08/17
$1,000 Mi Laborers 7/16/18
$ 2,500 Mi Laborers. 9/3/18

The only fact missing from a potential indictment would be whatever form of communication
took place with respect to the Prevailing Wage initiative and the recipient of the campaign
contribution, be that a text message, email, phone call or personal meeting over dinner and
drinks. The same can be said about the legislators on the other side of the issue who voted in
favor of the initiative. The record shows campaign contributions coming into their coffers from
the proponents of the initiative before and after the vote.

Therein lies the central concern expressed by the Supreme Court as to the “chilling
effect” upon both the advocates of a particular piece of legislation who desire to support a
receptive legislator and the legislator receiving the contribution. Could they speak freely with
the donor without the potential that, should they ultimately decide to vote against the donor’s pet
issue, they could be accused of a Hobbs Act violation? The same chilling effect would occur on
the side of the donor. Must they simply throw their campaign contributions at a candidate who

they hope will assist them in the legislature? If the donors advance a political cause to the
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candidate would they fear criminal recrimination if they also support the candidate’s campaign
financially? If there are no boundaries to the reach of the Hobbs Act, either jurisdictionally or by
limiting the “quid” to something other than a legal campaign contribution, then all Michigan
legislators who receive and accept campaign contributions before or after a controversial vote are
exposed to criminal liability, McCormick v. ULS., 5300 U.S. 237 (1991).

McCormick is instructive on this issue, particularly as framed by the government in this
case. In McCormick, the defendant, a West Virginia state legislator, was convicted under the
Hobbs Act when he sponsored a bill extending temporary licensing for foreign medical doctors,
even though they repeatedly failed licensing examinations. He also advocated for possible
legislation that would grant the foreign doctors licensing by virtue of their years of service, and
during a campaign told a lobbyist that his campaign was expensive and that he had received no
support from the foreign doctors. Thereafter, the defendant received cash contributions from the
doctors that were not listed as campaign contributions nor reported on his federal tax returns.
The conviction was upheld by the 4" Circuit Court of Appeals but reversed by the Supreme
Court. The Court held, among other things, that to hold that legislators:

“commit the federal crime of extortion when they act for the benefit of constituents

or support legislation furthering the interests of some of their constituents, shortly before

or after campaign contributions are solicited and received from those beneficiaries, is an

unrealistic assessment of what Congress could have meant by making it a crime to take
property from another, with his consent, “under color of official right”. To hold
otherwise would open to prosecution not only conduct that has long been thought to be

well within the law but also conduct that in a very real sense is unavoidable so long as
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election campaigns are financed by private contributions or expenditures, as they have

,

been from the beginning of the Nation.’

C. WHETHER THE GOVERNMENT’S INTERPRETATION OF THE REACH OF
THE HOBB’S ACT CAUSES IT TO BE FACIALLY INVALID DUE TO VAGUENESS

OR AN IMPERMISSIBLE INTRUSION INTO THE FIRST AMENDMENT.

"Void for vagueness simply means that criminal responsibility should not attach where
one could not reasonably understand that his contemplated conduct is proscribed. In determining
the sufficiency of the notice a statute must of necessity be examined in light of the conduct with
which a defendant is charged." United States v. Greenpeace, Inc., 314 F.Supp.2d 1252, 1258
(S.D. Fla. 2004) (quoting United States v. National Dairy Products Corp., 372 U.S. 29, 83 8. Ct.
594, 9 L. Ed. 2d 561 (1963)). The First Amendment commands, "Congress shall make no law. .
. abridging the freedom of speech." The government may violate this mandate in many
ways, ¢.g., Rosenberger v. Rector and Visitors of Univ. of Va., 313 U.S. 819, 132 L. Ed. 2d 700,
115 S. Ct. 2510 (1995),;Keller v. State Bar of Cal., 496 US. 1, 110 L, Ed. 2d 1, 1108. Ct. 2228
(1990), but a law imposing criminal penalties on protected speech is a stark example of speech
suppression, citing Ashcroft v. Free Speech Coalition, 535 U.S, 234 (2002).

The exercise of one’s right to vote is protected First Amendment speech, Citizens United
v, FEC, 558 U.S. 310 2010). The charged violation by Defendant Inman carries a maximum
punishment of 20 years incarceration in a federal penitentiary. When considering the sufficiency

of the notice the statute affords of the prohibited practice the Court may consider the possible
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penalty, particularly when it deals with a First Amendment issue, Asheroft at p. 244. Even minor
criminal penalties can chill protected speech, Wooley v. Maynard, 430 U.S. 703 (1977).

In Ashcroft v. Free Speech Coalition, 535 U.U. 234 (2002), the Supreme Court struck
down the Child Pornography Prevention Act of 1996, 18 USCS sec. 251 which intended to
criminalize any visual depiction if it appeared to include minors engaging in sexual acts, even if
they were computer generated as well as images created by more traditional means. The Court
found the statute to be unconstitutional as it infringed on First Amendment Freedom of Speech
protections because the definition of child pornography in the statute could include historical
works of art, actors beyond the age of maturity engaged in simulated sex scenes, such as in
theater shows, or other non-purient works. The penalties for possession of such works were
substantial and would create a chilling effect on those works customarily protected by the First
Amendment. The Court, in striking down the statute reasoned:

“The Government may not suppress lawful speech as the means to suppress unlawful

speech. Protected speech does not become unprotected merely because it resembles the

latter. The Constitution requires the reverse. "The possible harm to society in permitting
some unprotected speech to go unpunished is outweighed by the possibility that protected
speech of others may be muted ... ." Broadrick v. Oklahoma, 413 U.S. at 612. The

overbreadth doctrine prohibits the Government from banning unprotected speech if a

substantial amount of protected speech is prohibited or chilled in the process.”

This ties into the argument above that the Government’s interpretation of the Hobb’s Act would
cause a chilling effect on the entire State political process. No matter how unsavory it may
seem, our two party system creates a continuous struggle between two generally competing

parties attempting to gain control of the legislature by having the majority of its members voted
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into office by their constituents. As we are a representative democracy, the electorate in each
district must be motivated to go to the polling places and vote for their approved candidate. To
accomplish this, politicians from both parties must expend considerable sums of money to get
theirs and their parties voices heard above the others. This requires money for travel expenses,
newspaper, television, radio and internet advertising and other means to motivate and woo the
electorate to the soundness of your position. Further, an individual candidate’s position cannot
make Jaw unless it is in the majority. Thus, both parties are involved in the fund raising process.
As Michigan now requires candidates for the House of Representatives to run for re-election
every two years, campaigns and fund raising is always underway. Under this system, there
would be no way to separate out an incumbent’s fund raising activities to raise legitimate
political contributions and his conversations with the donors on issues significant to them.

To allow legitimate campaign contributions, legally accepted and disclosed, to form the
basis for a Hobbs Act prosecution, even if they are openly solicited to help the legislator’s future
election campaign because he feels his vote will motivate his opponents to defeat him in the next
election, would cause an onerous and chilling effect on the current political process. What could
a candidate for office say at his fundraiser if, at the same time, donors are handing checks to his
staff? Would he be able to openly support controversial platforms to a group of his constituents
and at the same time receive donations? If instead the candidate sent an email or text message to
a donor that mimicked the same speech he gave at the fundraiser and requested a campaign
contribution, would that now be a violation of the Hobbs Act? That is exactly how fundraisers
work in our system, yet the Government’s interpretation of the Hobbs Act would challenge the

legality of these meetings and discussions.
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While there appears to be no case directly on point with the one before this Court, the
expansive reach of the Hobbs Act as advocated by the Government seems to intrude so far into
the political process as to blur the lines between was is legal or not under the Act and would
create a very real chilling effect on what a political candidate can do or say during the election or
re-election process. The defendant renews his call for a dismissal of the indictment as to Counts

Tand II.

August 30, 2019

  

espéctfully,
ft

Christopher K. Cooke (P35034)
Neumann Law Group

 
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGN

 

SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
VS Case No. 1:19-cr-117

Hon. Robert J. Jonker

LARRY CHARLES INMAN, Hon. Phillip J. Green

Defendant.

/

Christopher M. O'Connor (P71846) Christopher K. Cooke (P35034)
Assistant United States Attorney NEUMANN LAW GROUP
330 Ionia Ave NW Attorney for the Defendant
Grand Rapids, MI 49503-2504 300 East Front Street, Suite 445
(616) 456-2404 Traverse City, MI 49684
Christopher oconnor(@usdoj.gov (231) 221-0050

chris@neumannlawgroup.com

Ronald M. Stella (P45316)
Assistant United States Attorney
330 Ionia Ave NW

Grand Rapids, MI 49503-2504
(616) 456-2404
Ron.stella@usdoj.gov

IDAVIT OF DOUG G. SIMON, CHIEF FINANCIAL OF THE MICHIGAN
OUSE OF REP. NT.

NOW COMES DOUG G. SIMON, Chief Financial Officer and Business Director of the Michigan
House of Representatives having been duly swom, deposes as follows:

1.1, Doug G. Simon, am the Chief Financial Officer and Business Director of the Michigan House
of Representatives.

2. The Michigan House of Representatives is a sovereign and independent branch of the state
government,

3. The Michigan House of Representatives maintains its own budget, separate from the State of

Michigan and all other branches of the state government.
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4. Part of my duties and responsibilities as Chief Financial Officer and Business Director is to
understand and oversee all sources of funding for the Michigan House of Representatives.

5. The fiscal year for the Michigan House runs from October to September.

6. For the fiscal year 2018, the Michigan House of Representatives received no ($0.00) funding from
the Federal government.

7. For the fiscal year 2019, to date, the Michigan House of Representatives received no ($0.00}
funding from the federal government.

8, During the two years and eight months that I have served as the Chief Financial Officer and
Business Director of the Michigan House of Representatives, the House has never received federal

funding in its budget.

Further, the affiant sayeth not,

Date: HA Oh,

 

Chief Financial Officer
Michigan House of Representatives

STATE OF MiCHIGAN
INGHAM COUNTY

Subscribed sad sworn to before me in Ingham County, Michigan, on Aus uthde , 2019,
isf flee 9 Pur inn

Name: fysa D. ac iy

Notary public, State of Michigan, County of Eaton

My commission expires Auge ct 6,120

LISA D CURTIS
ew (AY "UBLIC - STATE OF MICHIGAN
COUNTY GF EATON

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wt ing in the County of 2a
Case 1:19-cr-00117-RJJ ECF No. 46 filed 8/20/19 Pansip, 336 ae Sd 33

No. 57

STATE OF MICHIGAN

JOURNAL
OF THE

House of Representatives
99th Legislature

REGULAR SESSION OF 2018

 

 

House Chamber, Lansing, Wednesday, June 6, 2018.

The House was called to order by Associate Speaker Pro Tempore Glenn.

1:30 p.m.

The roll was called by the Clerk of the House of Representatives, who announced that a quorum was present.

Afendoulis—present
Albert—present
Alexander—present
Allor—present
Barrett—present
Bellino—present
Bizon—present
Brann—present
Brinks—present
Byrd—present
Calley—present
Cambensy—present
Camilleri—present
Canfield—present
Chang—present
Chatfield—present
Chirkun—present
Clemente—present
Cochran—present
Cole—present
Cox—present
Crawford—present
Dianda—present
Durhal—present
Elder—present
Ellison—present
Faris—present
Farrington—present

e/d/s = entered during session

Frederick—-present
Garcia—present
Garrett—present
Gay-Dagnogo—present
Geiss—present
Glenn—present
Graves—present
Green—present
Greiz—present
Greimel—present
Griffin-—present
Guerra—present
Hammoud—present
Hauck—present
Hernandez—present
Hertel—present
Hoadley—present
Hoitenga—present
Hornberger—present
Howell—present
Howrylak—present
Hughes—present
Iden—present
Inman—present
Johnson—present
Jones—present
Kahle—present

Kelly—present
Kesto—present
Kosowski—present
LaFave—present
LaGrand—present
LaSata—present
Lasinski—present
Lauwers—present
Leonard—present
Leutheuser—present
Liberati—present
Lilly—present
Love—present
Lower—present
Lucido-—present
Marino—present
Maturen—present
McCready—present
Miller—present
Moss—present
Neeley—present
Noble—present
Pagan—present
Pagel—present
Peterson—present
Phelps—present
Rabhi—present

Reilly—present
Rendon—present
Roberts—present
Robinson—present
Runestad—present
Sabo—present
Santana—present
Scott—present
Sheppard—present
Singh—present
Sneller—present
Sowerby—present
Tedder—present
Theis—present
Vander Wall—present
VanSingel—present
Vaupel—present
VerHeulen—present
Victory—present
Webber—present
Wentworth—present
Whiteford—present
Wittenberg—present
Yancey—present
‘Yanez—present
Yaroch—present
Zemke—present
Case 1:19-cr-00117-RJJ ECF No. 46 filed 08/30/19 PagelD.317 Page 15 of 33

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Rep. Tim Kelly, from the 94th District, offered the following invocation:

“Heavenly Father, we come to You today to asking for Your guidance, wisdom, and support as we begin this legislative
session. Help us to engage in meaningful discussion; allow us to grow closer as a group and nurture the bonds of community.
Fill us with Your grace, Lord God, as we make decisions that will affect the citizens of the great state of Michigan.
Continue to remind us that all that we do here today, is for the greater glory of You, and for the service of humanity. We ask
these things in Your name, Amen.”

The Speaker assumed the Chair.

Motions and Resolutions

The Speaker, on behalf of the entire membership of the House of Representatives, offered the following resolution:

House Resolution No. 361.

A resolution of tribute offered as a memorial for George W. Mans.

Whereas, The members of this legislative body are saddened by the recent passing of George W. Mans, former member
of the House of Representatives, who served the Twenty-third District for six years; and

Whereas, George Mans was a lifelong and deeply rooted resident of Trenton, Michigan. After completing his education
in the Trenton Public Schools, he attended the University of Michigan where he not only earned a bachelor’s degree in
history, but he also Jeft an indelible mark in the annals of University of Michigan football as an All-Big Ten lineman and
team captain. He later contributed his football knowledge and expertise as a coach for the University of Michigan, Eastern
Michigan University, and Michigan Technological University; and

Whereas, George Mans’ career as an elected official began with his tenure as a member of the Trenton Board of Education
and later as Mayor of Trenton, In 1996, he was elected to the House of Representatives where he served for three terms
and worked on committees concerning corrections, local government, transportation, public retirement, and veteran’s affairs.
Furthermore, he sponsored a host of bills that were enacted into law dealing with elections, education, and health; and

Whereas, George Mans impacted many lives within his sphere of influence. He leaves behind a loving wife, four children,
and two grandchildren. As a business owner, public official, football coach, and overall stellar individual, George Mans’
life and contributions will long be remembered; now, therefore, be it

Resolved by the House of Representatives, That we offer this expression of our highest regard in memory of George W.
Mans, a distinguished member of this legislative body from 1996-2002; and be it further

Resolved, That copies of this resolution be transmitted to the Mans family as evidence of our lasting esteem for his memory.

The question being on the adoption of the resolution

The resolution was adopted by unanimous standing vote.

Messages from the Senate

Senate Concurrent Resolution No. 34,

A concurrent resolution of tribute offered as a memorial for Raymond D. Dzendzel, former member of the House of
Representatives and the Senate.

Whereas, It is with great sadness that the members of the Michigan Legislature learned of the passing of Raymond Dzendzel.
He was a strong advocate for the people of northwest Detroit and northern Wayne County during his 16 years in the House
of Representatives and the Senate; and

Whereas, Raymond Dzendzel was a public servant long before he arrived in Lansing. After graduating from Redford High
School, he joined the United States Coast Guard and served in the north Atlantic during World War I. He returned home
after the war and earned a bachelor’s degree from the Detroit Institute of Technology, working as a carpenter and business
representative for his carpenters’ union before being elected to the House of Representatives in 1954; and

Whereas, During his two terms in the House, Raymond Dzendzel drew on his experience in the Coast Guard, serving
on the Michigan Veterans’ Facility and Military and Veterans’ Affairs committees. He was also a member of the House com-
mittees related to constitutional amendments and apportionment. Raymond Dzendzeil served on numerous committees in
the Senate after his election to that chamber in 1958, including committees covering elections, insurance, interstate cooperation,
judiciary, labor, senate business, and veterans’ affairs. He also served on the Legislative Council and was the chairman of
the Corporations Committee and the Committee on Committees; and
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Whereas, Raymond Dzendzel took on leadership positions during his tenure in the Senate. Most notably, he was his party's
leader from December 1963 to January 1969, serving as the Majority Leader during the 1965-1966 session, reflecting the
trust and respect he had earned from his colleagues. During his time in the Legislature, he devoted his efforts to many
different issues that mattered to his constituents. He worked on education, public safety, seniors, and veterans’ issues, but
was most known for his efforts on labor, including the creation of the Construction Safety Commission and Board of Resi-
dential Contractors; and

Whereas, Raymond Dzendzel enjoyed a long and happy retirement after leaving Lansing in 1970. He spent time with his
family and remained active in the community, including serving as a member of the board of directors for Botsford Hospital; and

Whereas, Raymond Dzendzel was an honorable and committed public servant. Upon his passing, we offer our con-
dolences to his family and friends. We hope that they may find comfort in the knowledge that the community as a whole
shares in their bereavement, and that the legacy of Raymond Dzendzel’s contributions will long continue to enrich our state;
now, therefore, be it

Resolved by the Senate (the House of Representatives concurring), That we offer this expression of our highest tribute
to honor the memory of Raymond D. Dzendzel, a member of the House of Representatives from 1955 to 1958 and the Senate
from 1959 to 1970; and be it further

Resolved, That copies of this resolution be transmitted to the Dzendzel family as evidence of our lasting esteem for
his memory.

The Senate has adopted the concurrent resolution.

The question being on the adoption of the concurrent resolution,

The concurrent resolution was adopted by unanimous standing vote.

The Speaker called the Speaker Pro Tempore to the Chair.
Second Reading of Bills

INITIATIVE PETITION

An initiation of legislation to repeal 1965 PA 166, entitled “An act to require prevailing wages and fringe benefits on
state projects; to establish the requirements and responsibilities of contracting agents and bidders; to prescribe penalties,”
(MCL 408.551 to 408.558); and to provide for an appropriation for related purposes.

The Initiative Petition was read a second time.

Rep. Lauwers moved that the Initiative Petition be placed on the order of Third Reading of Bills.

The motion prevailed.

Rep. Lauwers moved that the Initiative Petition be placed on its immediate passage.

The motion prevailed, a majority of the members serving voting therefor.

By unanimous consent the House returned to the order of
Third Reading of Bills

INITIATIVE PETITION

An initiation of legislation to repeal 1965 PA 166, entitled “An act to require prevailing wages and fringe benefits on
state projects; to establish the requirements and responsibilities of contracting agents and bidders; to prescribe penalties,”
(MCL 408.551 to 408.558); and to provide for an appropriation for related purposes.

Was read a third time and passed, a majority of the members serving voting therefor, by yeas and nays, as follows:

Roll Call No. 453 Yeas—56

Afendoulis Frederick Kelly Pagel
Albert Garcia Kesto Reilly
Alexander Glenn LaFave Rendon

Allor Graves LaSata Runestad
Case 1:19-cr-00117-RJJ ECF No. 46 filed 08/30/19 PagelD.319

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1238 JOURNAL OF THE HOUSE [June 6, 2018] [No. 57
Barrett Griffin Lauwers Tedder
Bizon Hauck Leonard Theis
Brann Hernandez Leutheuser VanderWall
Calley Hoitenga Lilly VanSingel
Canfield Hornberger Lower Vaupel
Chatfield Hughes Lucido VerHeulen
Cole Iden Maturen Victory
Cox Inman McCready Webber
Crawford Johnson Miller Wentworth
Farrington Kahle Noble Whiteford
Nays—53
Bellino Garrett Kosowski Robinson
Brinks Gay-Dagnogo LaGrand Sabo
Byrd Geiss Lasinski Santana
Cambensy Green Liberati Scott
Camilleri Greig Love Sheppard
Chang Greimel Marino Singh
Chirkun Guerra Moss Sneller
Clemente Hammoud Neeley Sowerby
Cochran Hertel Pagan Wittenberg
Dianda Hoadley Peterson Yancey
Durhal Howell Phelps Yanez
Elder Howrylak Rabhi Yaroch
Ellison Jones Roberts Zemke
Faris

In The Chair: Chatfield

Rep. Lauwers moved that the Initiative Petition be given immediate effect.
The motion prevailed, 2/3 of the members serving voting therefor.
The Initiative Petition was referred to the Clerk for depositing with the Secretary of State.

Reps. Phelps, Cochran, Yanez, Pagan, Hoadley, Wittenberg and Greimel, having reserved the right to explain their protest
against the passage of the Initiative Petition, made the following statement:
“Mr. Speaker and members of the House:
I voted no on repealing Michigan’s prevailing wage law to ensure that the men and women who work hard every day

to fix our roads and build our bridges and schools are paid a fair wage that recognizes their value. At a time when
working families are struggling to get ahead, this initiative will further undercut Michigan’s strong skilled labor force by
flooding the state with low-skill, inexperienced, out-of-state workers simply to pad the profits of a few contractors. This
proposal pretended to offer savings to taxpayers, but numerous independent studies from Indiana and Wisconsin have
shown that claim to be false. Instead, a repeal of the prevailing wage will increase costs to taxpayers, as important
construction projects take longer to complete with low-skill labor. As our state faces an infrastructure emergency, and our
skilled worker shortage threatens to become a crisis, I could note responsibly support a proposal that will assuredly result
in more expensive but lower quality construction projects while doing nothing to fix the pressing problems our state is facing.”

Rep. Green, having reserved the right to explain his protest against the passage of the Initiative Petition, made the follow-
ing statement:

“Mr. Speaker and members of the House:

No Vote Explanation on PWage Initiative Petition Passage

I voted no on repealing Michigan’s prevailing wage law to ensure that the men and women who work hard every day
to fix our roads and build our bridges and schools are paid a fair wage that recognizes their value. At a time when working
8/30/2019

Case 1:19-cr-00117-RJJ ECF No ¥6'léd'68/sbriee ‘PagelD.320 Page 18 of 33
J Michigan lawmakers all have a record —
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House Roll Call 453 on
2018 Legislative Initiative Petition 2: Repeal prevailing wage law

Passed 56 to 53 in the House on June 6, 2018.
See Who Voted "Yes" and Who Voted "No". To repeal the state “prevailing wage” law, which
prohibits awarding government contracts to contractors who submit the lowest bid unless the

contractor pays wages based on union pay scales that local union officials represent as

prevalent in a particular area.

View the rest of Legislative Initiative Petition 2: History, Amendments & Comments

«i ¢ Viewcomments ="

Vote Republican Democrat Voters
m In Favor meee 88% 0% = 25%
m@ Against = : 11% ee 100% mmm § /5%
= Not Voting 0% 0% 0%
Undecided 63 total votes 46 total votes 4 total votes

What do you think? In Favor Against Undecided vote (sign in required)

Add to your scorecard as In Favor or Against (select a scorecard)

IN FAVOR

HOUSE DEMOCRATS
none

HOUSE REPUBLICANS

Afendoulis (R) Albert (R) Alexander (R) Allor (R) Barrett (R)
Bizon (R) Brann (R) Calley (R) Canfield (R) Chatfield (R)
Cole (R) Cox (R) Crawford (R) Farrington (R) Frederick (R)
Garcia (R) Glenn (R) Graves (R) Griffin (R) Hauck (R)

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Hernandez (R)

Hoitenga (R)

Inman (R) Johnson (R)
LaFave (R) LaSata (R)
Lilly (R) Lower (R)
Miller (R) Noble (R)
Runestad(R) ‘Tedder (R)
Vaupel (R) Verheulen (R)
Whiteford (R)

AGAINST

HOUSE DEMOCRATS

Brinks (D) Byrd (D)
Chirkun (D) Clemente (D)
Elder (D) Ellison (D)
Geiss (D) Green (D)
Hammoud (D) Hertel (D)
LaGrand (D) Lasinski (D)
Neeley (D) Pagan (D)
Robinson (D) Sabo (D)
Sneller (D) Sowerby (D)
Zemke (D)

HOUSE REPUBLICANS

Bellino (R)
Sheppard (R)

Howell (R)
Yaroch (R)

Hornberger (R)
Kahle (R)
Lauwers (R)
Lucido (R)
Pagel (R)
Theis (R)
Victory (R)

Cambensy (D)
Cochran (D)
Faris (D)
Greig (D)
Hoadley (D)
Liberati (D)
Peterson (D)
Santana (D)
Wittenberg (D)

Howrylak (R)

HOUSE LEGISLATORS ORDERED BY NAME

Y Afendoulis (R-73)
Y Barrett (R-71)

n Brinks (D-76)

n Camilleri (D-23)
n Chirkun (D-22)

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Y Albert (R-86)

n Bellino (R-17)

n Byrd (D-3)

Y Canfield (R-84)
n Clemente (D-14)

Y Alexander (R-64)
Y  Bizon (R-62)
Y Calley (R-87)

n Chang (D-6)

n Cochran (D-67)

Hughes (R)
Kelly (R)
Leonard (R)
Maturen (R)
Reilly (R)
VanderWvall (R)
Webber (R)

Camilleri (D)
Dianda (D)
Garrett (D)
Greimel (D)
Jones (D)
Love (D)
Phelps (D)
Scott (D)
Yancey (D)

Marino (R)

Case 1:19-cr-00117-RJJ ECF Nd esitada/sbrign PagelD.321 Page 19 of 33

Iden (R)

Kesto (R)
Leutheuser (R)
McCready (R)
Rendon (R)
VanSingel (R)
Wentworth (R)

Chang (D)

Durhal (D)
Gay-Dagnogo (D)
Guerra (D)
Kosowski (D)
Moss (D)

Rabhi (D)

Singh (D)

Yanez (D)

Roberts (R)

Y Allor (R-106)
Y Brann (R-77)

n Cambensy (D-109)
Y Chatfield (R-107)
Y Cole (R-105)

2/4
8/30/2019

Y Cox (R-19)
n Elder (D-96)

Y Frederick (R-85)

n Geiss (D-12)
Greig (D-37)
Hammoud (D-15)
Hoadley (D-60)
Howrylak (R-41)
Johnson (R-72)
Kesto (R-39)
LaSata (R-79)
Leutheuser (R-58)
Lower (R-70)
McCready (R-40)
Noble (R-20)

n Phelps (D-49)

n Roberts (R-65)
n Santana (D-9)

n Sneller (D-50)

Y VanderWall (R-
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Y Victory (R-88)
n Wittenberg (D-27)
n Zemke (D-55)

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Ellison (D-26)
Garcia (R-90)

Glenn (R-98)
Greimel (D-29)
Hauck (R-99)

Hoitenga (R-102)

Hughes (R-91)
Jones (D-11)
Kosowski (D-16)
Lasinski (D-52)
Liberati (D-13)
Lucido (R-36)
Miller (R-59)
Pagan (D-21)
Rabhi (D-53)
Robinson (D-4)
Scott (D-2)
Sowerby (D-31)

VanSingel (R-100) Y

Webber (R-45)
Yancey (D-1)

n Dianda (D-110)
n Faris (D-48)

n Garrett (D-7)

Graves (R-51)
Griffin (R-66)
Hernandez (R-83)
Hornberger (R-32)
Iden (R-61)
Kahle (R-57)
LaFave (R-108)
Lauwers (R-81)
Lilly (R-89)
Marino (R-24)

n Moss (D-35)

Y Pagel (R-78)

Y Reilly (R-46)

Y  Runestad (R-44)
n Sheppard (R-56)
Y Tedder (R-43)

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Vaupel (R-47)

Y Wentworth (R-97)
n Yanez (D-25)

House Roll Call 453 on 2018 Legislative Initiative Petition 2

Comments

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Y

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Case 1:19-cr-00117-RJJ ECF Nd@46"Aiéa' 68/d6798" ‘PagelD.322 Page 20 of 33
Y Crawford (R-38)

Durhal (D-5)
Farrington (R-30)
Gay-Dagnogo (D-

Green (D-28)
Guerra (D-95)
Hertel (D-18)
Howell (R-82)
Inman (R-104)
Kelly (R-94)
LaGrand (D-75)
Leonard (R-93)
Love (D-10)
Maturen (R-63)
Neeley (D-34)
Peterson (D-54)
Rendon (R-103)
Sabo (D-92)
Singh (D-69)
Theis (R-42)

Verheulen (R-74)

Whiteford (R-80)
Yaroch (R-33)

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Michigan Campaign Finance Contribution Search
Results

Criteria used for the search:
e Candidate's Last Name: "*HOWELL*"

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Matches 401-500 of 2868 <<Prev 100 Next 100>>

 

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Receiving Schedule Type Received From Cit
Committee Name Address State L Date Amount Cumul
Committee ID-Type Description Occupation-Employer P

 

COMM TO ELECT GARY HOWELL DIRECT TERENCE KLUGE LAPEER

 

 

 

 

 

513449-CAN PO BOX 296 MI 48446-0000 11/22/07 $40.00 $40.00
COMM TO ELECT GARY DIRECT cane eaaaae LAPEER
HOWELL MI 48446- 05/26/08 $40.00 $130.00
513449-CAN FIRE CHEIF-CITY OF 0000

LAPEER
COMM TO ELECT GARY pirect RICHARD KRIEGER LAPEER
HOWELL 546 VISTA DELL MI 48446- 06/07/08 $35.00 $35.00
513449-CAN SOLE 0000
COMM TO ELECT GARY prrEcT GLENN R FACKLER JR METAMORA
HOWELL 2717 NLAKE GEORGE MI48455- _ 05/23/08 $35.00 $85.00
513449-CAN RD 0000
COMM TO ELECT GARY HOWELL DIRECT BETSY BARTLETT METAMORA
513449-CAN 3310 BALDWIN RD MI 48455-0000 00/07/08 $35.00 $35.00
COMM TO ELECT GARY DAWN JOHNSON
HOWELL DIRECT 3143 WEST BARNES COLUMBIAVILLE 9 <7, 1198 $35.00 $35.00

513449-CAN | LAKE RD MI 48421-0000

 

COMM TO ELECT GARY DIRECT JUDITH A RICE LAPEER 09/04/07 $35.00 $35.00

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saan? Case 1:19-cr-00117-RJJ Ettrhipancome ei Gepos7sojeen Peg eiw'324 Page 22 of 33
2939 BULLOCK RD 0000

 

 

 

 

 

 

COMM TO ELECT GARY pipect RICHARD C. KUISELL LAPEER

HOWELL 2375 GREENWOOD MI 48446- _ 06/28/08 $20.00 $20.00
513449-CAN RD 0000

COMM TO ELECT GARY HOWELL DIRECT JIM JESSOP LAPEER

513449-CAN 3735 OREGON RD MI 48446-0000 9>/28/08 $20.00 $20.00
COMM TO ELECT GARY pirecr FAYE £ SMITH NORTH

HOWELL 2024 JOHNSON MILL BRANCH 04/15/08 $20.00 $20.00
513449-CAN RD MI 48461-0000

COMM TO ELECT GARY | THOMAS E COTE

HOWELL DIRECT 11) w BARNES eer ares 11/13/07 $20.00 $20.00
513449-CAN LAKE RD

COMM TO ELECT GARY HOWELL DIRECT ELLEN LJURN IMLAY CITY

513449-CAN | 574 E BORLAND MI 48444-0000 22/22/07 $20.00 $20.00
COMM TO ELECT GARY pirEct JAMES DAVIS LAPEER

HOWELL 600 DAVIS LAKE MI 48446- _03/27/08 $10.00 $10.00
513449-CAN RD 0000

 

COMM TO ELECT GARY HOWELL DIRECT ROBERTA BERGIN LAPEER

513449-CAN 1109 S LAPEER RD MI 48446-0000 92/25/08 $10.00 $10.00

 

COMM TO ELECT GARY HOWELL DIRECT PURICTA LAPEER

513449-CAN 189 OAKVIEW DR_ 0000

TURONEK MI 48446- 06/01/08 $10.00 $10.00

 

GARY HOWELL NORTH
DIRECT 4865 FISH LAKE BRANCH

ROAD MI 48461-

FARMER-NA 0000

COMMITTEE TO ELECT
GARY HOWELL
517310-CAN

10/16/15 $40,000.00 $55,000.00

 

GARY HOWELL NORTH

COMMITTEE TO ELECT DIRECT 4865 FISH LAKE BRANCH

 

 

GARY HOWELL RD Mi4g4é1. 09/01/15 $15,000.00 $15,000.00
. FARMER-NA 0000
COMMITTEE TO ELECT GARY py pecp MICHIGAN LANSING
HOWELL CHAMBER MI 48933- 10/23/15 $5,000.00 $5,000.00
517310-CAN 600 S. WALNUT 0000
MI LABORERS’
COMMITTEE TO ELECT LANSING
GARY HOWELL DIRECT POLITICAL LEAGUE yay 48917- 03/22/19 $5,000.00 $5,000.00

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517310-CAN WAY SUITE 100 0000

 

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seaman? Case 1:19-cr-00117-RJJ Evtrisac nel Geren/sepren PabRTNE325 Page 23 of 33
COMMITTEE TO ELECT DIRECT MI REGIONAL COUNCIL OF DETROIT 09/24/18 $4,000.00 $10,000.00
GARY HOWELL CARPENTERS MI 48243-
517310-CAN 400 TOWER RENAISSANCE 0000

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GARY
COMMITTEE TO ELECT INKIND HOWELL an
GARY HOWELL OFFICE SPACE 4865 FISH MI 48461- 10/06/17 $3 600.00 $5,100.00
§17310-CAN (JAN-DEC 2017) LAKE ROAD 0000
: FARMER-NA
COMMITTEE TO ELECT | por vo oe DETROIT
GARY HOWELL 400 TO N MI 48243- 05/25/18 $3,000.00 $6,000.00
517310-CAN TOWER RENAISSANCE 0000
CENTER SUITE 1010
COMMITTEE TO ELECT GARY DIRECT MICHIGAN FARM LANSING
HOWELL BUREAU MI 48909- 06/18/18 $2,500.00 $5,400.00
517310-CAN P.O. BOX 30960 0000
IBEW PAC
COMMITTEE TO ELECT. WASHINGTON
GARY HOWELL DIRECT eee a DC 04/24/18 $2,500.00 $2,500.00
§17310-CAN “DC 20001-0000

NW

 

COMMITTEE TO ELECT GARY
COMMITTEE TO ELECT GARY DIRECT MICHIGAN FARM — LANSING

 

HOWELL BUREAU MI 48909- 10/29/15 $2,500.00 $2,500.00
517310-CAN P.O. BOX 30960 0000

COMMITTEE TO ELECT DIRECT MICHIGAN BEER & WINE LANSING

GARY HOWELL WHOLESALERS MI 48933- 12/07/15 $2,500.00 $2,500.00
517310-CAN 332 TOWNSEND ST. 0000

 

 

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6/12/2019

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Receiving
Committee Name
Committee ID-Type

Schedule Type

Description Occupation-Employer

Received From
Address

City
State Zip Date Amount Cumul

 

 

 

 

 

COMMITTEE TO INKIND QUsE REPUBLICAN LANSING

ELECT JOEBELLINO \,¢,, CAMPAIGN COMMITTEE — MI 48933- 09/24/18 $61,540.00 $87,841.20
517544-CAN Gy. 520 SEYMOUR AVE 0000

COMMITTEE TO INKIND HOUSE REPUBLICAN LANSING

ELECT JOE BELLINO p11, CAMPAIGN COMMITTEE MI 48933- 10/29/18 $47,738.75 $217,296.20
517544-CAN Muy. 520 SEYMOUR AVE 0000

COMMITTEE TO INKIND yousE REPUBLICAN LANSING

ELECT JOE NO repia CAMPAIGN COMMITTEE MI 48933- 10/25/18 $47,738.75 $169,557.45
517544-CAN Muy. 520 SEYMOUR AVE 0000

COMMITTEE TO INKIND yousE REPUBLICAN LANSING

ELECT JOE BELLINO MEDIA CAMPAIGN COMMITTEE MI 48933- 10/09/18 $23,077.50 $116,368.70
517544-CAN MEDIA 520 SEYMOUR AVE 0000

COMMITTEE TO INKIND QUSE REPUBLICAN LANSING

ELECT JOE BELLINO. \pp1, CAMPAIGN COMMITTEE MI 48933- 11/01/18 $22,625.00 $239,921.20
517544-CAN 520 SEYMOUR AVE 0000

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Case 1:19-cr-00117-RJJ ECF No. 46 filed 08/30/19 PagelD.327 Page 25 of 33

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COMMITTEE TO HOUSE REPUBLICAN LANSING

ELECT JOE BELLINO MEDIA CAMPAIGN COMMITTEE _ MI 48933- 09/10/18 $20,851.20 $20,851.20
517544-CAN BUY 520 SEYMOUR AVE 0000

COMMITTEE TO DIRECT HOUSE REPUBLICAN LANSING

ELECT JOE BELLINO CAMPAIGN COMMITTEE — MI 48933- 10/25/16 $17,500.00 $17,500.00
517544-CAN 520 SEYMOUR AVE 0000

COMMITTEE TO JOSEPH BELLINO JR. MONROE

DIRECT 1285 HOLLY WOOD DR
ELECT JOE BELLINO SLISINESS OWNER SAME MI 48162- 10/29/16 $15,000.00 $15,000.00

517544-CAN FRAN'S BROADWAY MARKET 9000

 

COMMITTEE TO ELECT JOE jy ppp CHATFIELD MAJORITY BATH
BELLINO FUND 2 MI 48808- 06/01/18 $7,000.00 $7,000.00
517544-CAN 15012 SENIORS CT —_-0000
COMMITTEETO NKIND HOUSE REPUBLICAN
ELECT JOE CAMPAIGN LANSING
MEDIA MI 48933- 09/14/18 $5,450.00 $26,301.20
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COMMITTEETO —INKIND HOUSE REPUBLICAN LANSING

 

 

 

 

 

ELECT JOR CAMPAIGN COMMITTEE MI 48933- 09/24/18 $5,450.00 $93,291.20
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COMMITTEETO _INKIND HOUSE REPUBLICAN onc

ELECT JOE CAMPAIGN

See Serad eat oe MI 48933. 10/11/18 $5,450.00 $121,818.70
517544-CAN PRODUCTION 520 SEYMOUR AVE

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JOE BELLINO REPUBLICANS MI 48161- 10/01/18 $5,000.00 $5,000.00
517544-CAN PO BOX 560 0000

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BELLINO 5779 W. BLOOMFIELD —_ 07/24/16 $5,000.00 $5,000.00
517544-CAN MAPLERD MI 48322-0000

COMMITTEE TO E pipecr MONROE COUNTY MONROE

JOE BELLIN REPUBLICANS MI 48161- 07/24/16 $5,000.00 $5,000.00
517544-CAN PO BOX 560 0000

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Receiving Schedule Type Received From Cit
Committee Name : Address State oi Date Amount Cumul
Committee ID-Type Description Occupation-Employer P

 

 

 

 

STEVEN MARINO
CITIZENS DIRECT 37884 LAKESHORE HARRISON
STEVE MARINO DRIVE TOWNSHIP 02/08/16 $25 000.00 $25,000.00
517481-CAN OWNER-CAMPAIGN MI 48045-0000

FINANCE STRATEGIES LL

STEVEN MARINO
CITIZENS FOR DIRECT 37884 LAKESHORE HARRISON
STEVE MARINO DRIVE TOWNSHIP 08/29/16 $20,000.00 $70,100.00
517481-CAN OWNER-CAMPAIGN MI 48045-0000

FINANCE STRATEGIES LL

STEVEN MARINO
CITIZENS FOR DIRECT 37884 LAKESHORE HARRISON
STEVE MARINO j DRIVE TOWNSHIP 08/03/16 $15,000.00 $50,100.00
517481-CAN OWNER-CAMPAIGN MI 48045-0000

FINANCE STRATEGIES LL

STEVEN MARINO
CITIZENS FOR DIRECT 37884 LAKESHORE HARRISON
STEVE MARINO : DRIVE TOWNSHIP 05/11/16 $10,000.00 $35,100.00
517481-CAN OWNER-CAMPAIGN MI 48045-0000

FINANCE STRATEGIES LL

 

CITIZENS FOR STEVE DIRECT MICHIGAN VALUES DEWITT 08/03/16 $7,500.00 $7,500.00

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Case 1:19-cr-00117-RJJ ECF No. 46 filed 08/30/19 PagelD.329 Page 27 of 33

6/12/2019

Michigan Campaign Finance Contribution Search Results

 

 

 

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STEVE MARINO
CITIZENS FOR HARRISON
STEVE MARINO DIRECT 37884 LAKESHORE DRIVE = townsHIp 12/30/17 $5,000.00 $6,751.56
517481-CAN STATE REPRESENTATIVE-MI MI 48045-0000
HOUSE OF REPRESENTATIVES
CITIZENS FOR pirecr OPERATING BLOOMFIELD
STEVE MARINO ENGINEERS #324 PAC TOWNSHIP 06/25/18 $5,000.00 $7,500.00
517481-CAN 500 HULET DR. MI 48302-0000

MI REG. COUNCIL OF

 

 

 

CITIZENS FOR DETROIT
STEV IN DIRECT Seiad ANCE _MI48243- 05/16/18 $5,000.00 $6,000.00
517481-CAN SSANCE 0000
CENTER STE. 1010
CITIZENS FOR STEVE pec VERHEULEN WALKER
MARINO LEADERSHIP FUND MI 49534- 08/04/16 $5,000.00 $5,000.00
517481-CAN 4167 IMPERIAL DR NW__ 0000
CITIZENS FOR STEVE ppc oe BSS LEADERS PORM! yereorr
MARINO er hEniatemniaciameten Mi 48243. 06/30/16 $5,000.00 $5,000.00
; SUITE 1760
STEVEN MARINO
CITIZENS FOR pirecr 37884LAKESHORE HARRISON
STEVE MARINO DRIVE TOWNSHIP —_ 10/03/16 $5,000.00 $75,100.00
517481-CAN OWNER-CAMPAIGN MI 48045-0000

FINANCE STRATEGIES LL

 

 

 

CITIZENS FOR STEVE — ppp CHATFIELD MAJORITY =
MARINO FUND Ntasare, 07/13/17 $3,000.00 $3,000.00
517481-CAN PO BOX 1013 .
0000
CITIZENS FOR pirect GREATER ROCHESTER ROCHESTER
STEVE MARINO LEADERSHIP FUND MI 48307- 10/17/16 $2,500.00 $3,750.00
517481-CAN 1142 N. MAIN 0000
CITIZENS FOR piRECT OPERATING BLOOMFIELD
STEVE MARINO ENGINEERS #324 PAC TOWNSHIP 03/05/18 $2,500.00 $2,500.00

517481-CAN 500 HULET DR.

MI 48302-0000

 

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CITIZENS FOR STEVE DIRECT MI LABORERS POLITICAL LANSING 01/25/18 $2,500.00 $2,500.00
MARINO LEAGUE MI 48917-
517481-CAN 1118 CENTENNIAL WAY — 0000
STE. 100
CITIZENS FOR iaeatts HOUSE REPUBLICAN LANSING
STEVE MARINO MEDIA (IN- CAMPAIGN COMMITTEE MI 48901- 10/26/16 $2,500.00 $2,500.00
517481-CAN P.O. BOX 15035 0000
KIND)
CITIZENS FOR STEVE pypecrimacin LANSING
MARINO MI 48917- 09/13/18 $2,500.00 $6,000.00
1118 CENTENNIAL WAY
517481-CAN 0000
STE. 100
CUIZENS POR STEVE so aucpsinuRTy PAC HARRISON
MARINO 37596 HURON TOWNSHIP 05/16/16 $2,000.00 $2,000.00
517481-CAN POINTE DR MI 48045-0000
EAST
CITIZENS FOR STEVE DIRECT CHATFIELD MAJORITY LANSING
MARINO. FUND MI 48826- 08/03/16 $2,000.00 $2,000.00
517481-CAN PO BOX 1013
0000
CITIZENS FOR STEVE DIRECT REALTORS PAC OF MI LANSING
MARINO 720 N. WASHINGTON MI48901- 08/13/18 $1,550.00 $2,000.00
517481-CAN AVE. 0000
EAST
cy NS FOR STEVE DIRECT CHATFIELD MAJORITY LANSING
MARINO. FUND II MI 48826- 04/10/18 $1,500.00 $1,500.00
517481-CAN PO BOX 1013
0000
CITIZENS FOR STEVE DIRECT MI BEER & WINE LANSING
MARINO WHOLESALERS PAC MI 48933- 03/23/17 $1,500.00 $3,000.00
517481-CAN 332 TOWNSEND AVE. 0000
CITIZENS FOR STEVE DIRECT MI BEER & WINE LANSING
MARINO WHOLESALERS PAC MI 48933- 12/15/16 $1,500.00 $1,500.00
517481-CAN 332 TOWNSEND AVE. 0000
CITIZENS FOR STEVE DIRECT MI BEER & WINE LANSING
MARINO WHOLESALERS PAC MI 48933- 07/03/18 $1,200.00 $5,600.00
517481-CAN 332 TOWNSEND AVE. 0000

 

CITIZENS FOR STEVE MARINO DIRECT SHAMROCK PAC LIVONIA

517481-CAN PO BOX 531392 MI 48153-0000 8/03/16 $1,000.00 $1,000.00

 

CITIZENS FOR STEVE DIRECT BEN PAC LANSING — 12/29/17 $1,000.00 $1,000.00

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MARINO
517481-CAN

Michigan Campaign Finance Contribution Search Results

1731 BLUE GRASS
ROAD

MI 48906-
0000

 

MI ASSN. FOR JUSTICE

 

 

 

 

 

 

 

 

 

CITIZENS FORSTEVE —pyprep pac LANSING
MARINO cae) CENTURION STE, MI48917- 10/09/18 $1,000.00 $1,600.00
517481-CAN “is “0000
CITIZENS FORSTEVE ppc a MCINERNEY 3) OOMFIELD
MARINO HILLS 05/19/16 $1,000.00 $1,000.00
517481-CAN WARRINGTON RD wir 48304-0000
RETIRED-RETIRED
CITIZENS FOR STEVE peep TROOPERS PAC aati c
MARINO. 1715 ABBEY ROAD) \eyy4' 07/29/17 $1,000.00 $1,000.00
517481-CAN SUITE B -
0000

CITIZENS FOR STEVE — pec HEALTH PAC LANSING
MARINO 110 W. MICHIGAN AVE MI.48933-_ 10/19/17 $1,000.00 $2,500.00
517481-CAN STE. 1200 0000
CITIZENS FOR STEVE EILEEN WEISER aN
CITIZENS FOR STEVE DIRECT PO BOX 8649 ARBOR
MARINO. Meee. 08/25/16 $1,000.00 $1,000.00
517481-CAN crate acee ;

HOMEMAKER 0000
CITIZENS FOR STEVE ypc MI BEER & WINE LANSING
MARINO WHOLESALERS PAC MI 48933- 07/25/16 $1,000.00 $1,000.00
517481-CAN 332 TOWNSEND AVE. 0000
CITIZENS FOR STEVE =~ pgcep MICHIGAN CHAMBER LANSING
MARINO PAC MI 48933- 03/12/18 $1,000.00 $1,300.00
517481-CAN 600 S. WALNUT 0000
CITIZENS FOR STEVE py ppcp LAND OF OPPORTUNITY a
MARINO FUND PAC Mrégoas. 08/18/16 $1,000.00 $1,000.00
517481-CAN 39273 CHART

0000
CITIZENS FOR STEVE ere ae ee hy re GRAND
MARINO . RAPIDS 07/05/16 $1,000.00 $1,000.00
517481-CAN on eep-retieep Ml 49503-0000
SUZANNE DEVOS GRAND

CITIZENS FOR STEVE
MARINO DIRECT 126 OTTAWA AVENW RAPIDS 46/30/16 $1,000.00 $1,000.00
ee ie SUITE 500 MI 49503-

HOMEMAKER-HOMEMAKER

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CITIZENS FOR STEVE DIRECT MARIA DEVOS GRAND _ 06/30/16 $1,000.00 $1,000.00
MARINO. 126 OTTAWA AVENW RAPIDS
517481-CAN SUITE 500 MI 49503-
HOMEMAKER-HOMEMAKER 0000
DANIEL DEVOS GRAND
CITIZENS FOR STEVE
MARINO DIRECT 126 OTTAWA AVENW RAPIDS 6/30/16 $1,000.00 $1,000.00
ee oi SUITE 500 MI 49503-
RETIRED-RETIRED 0000
CITIZENS FOR piRECT GREATER ROCHESTER ROCHESTER
STEVE MARINO LEADERSHIP FUND MI 48307- _ 08/04/16 $1,000.00 $1,250.00
517481-CAN 1142 N. MAIN 0000
RICHARD HAWORTH
CITIZENS FOR STEVE pipect 6702 KELLY CREEK HOLLAND
MARINO DR MI 49423- 06/28/16 $1,000.00 $1,000.00
517481-CAN PRESIDENT-HAWORTH 0000
INC.
CITIZENS FOR STEVE pypecy tens BLOOMFIELD
MARINO UE STEES HILLS 06/22/16 $1,000.00 $1,000.00
517481-CAN ec rin MI 48304-0000
ELIZABETH DEVOS GRAND
CITIZENS FORSTEVE = pipEcT 126 OTTAWA AVENW RAPIDS
MARINO 07/01/16 $1,000.00 $1,000.00
cai SUITE 500 MI 49503-
~ SELF-EMPLOY ED-SELF 0000
PAMELA DEVOS GRAND
CITIZENS FOR STEVE
MARINO DIRECT 126 OTTAWA AVENW = RAPIDS 96/30/16 $1,000.00 $1,000.00
er ise SUITE 500 MI 49503-
~ EXECUTIVE-SELF 0000
RON WEISER ANN
CITIZENS FOR STEVE
ne DIRECT 320 N. MAIN ST.STE200 ARBOR 9513/16 ¢1 000,00 $1,000.00
aN SUITE 200 MI 48104-
. RETIRED-SELF 0000
CITIZ RSTEVE jyppcp MICHIGAN OSTEOPATHIC OKEMOS
MARINO PAC FUND MI 48864- 03/28/16 $1,000.00 $1,000.00
517481-CAN 2445 WOODLAKE CIRCLE 0000
CITIZENS FOR STEVE py pecep HEALTH PAC LANSING
MARINO 110 W. MICHIGAN AVE —_- MI.48933- 06/06/17 $1,000.00 $1,500.00
517481-CAN STE. 1200 0000
CITIZENS FOR STEVE DIRECT WAYNE WEBBER NEW 10/10/16 $1,000.00 $1,000.00
MARIN 49536GOULETTE — BALTIMORE
517481-CAN POINT DR. MI 48047-0000

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OWNER-WEBBER
DISTRIBUTION

 

MI LABORERS POLITICAL

 

 

 

CITIZENS FOR STEVE LANSING
MARINO seaada a ci MI 48917- 07/16/18 $1,000.00 $3,500.00
1118 CENTENNIAL WAY
517481-CAN 0000
STE. 100
DOUGLAS DEVOS GRAND
CITIZENS FOR STEVE
MARINO DIREC pe saa BER Scasse 06/30/16 $1,000.00 $1,000.00
ean ine UITE 49503-
EXECUTIVE-SELF 0000
MATTHEW
CITIZENS FOR STEVE pigecr HAWORTH HOLLAND
MARINO 6446 OAKRIDGE —MI.49423- _ 06/29/16 $1,000.00 $1,000.00
517481-CAN DR. 0000
CEO-HAWORTH INC.
CITIZENS FOR STEVE pyprcr aa aid ARD BLOOMFIELD
MARINO mene meee HILLS 06/22/16 $1,000.00 $1,000.00
517481-CAN MI 48304-0000

RETIRED-RETIRED

 

BLUE CROSS BLUE SHIELD

 

 

 

 

CITIZENS FOR STEVE LANSING
MARINO DIRECT BMY EG MI 48933- 03/22/18 $1,000.00 $2,500.00
Soar TiN 32. CAPITOL AVE.MC (inn
LIOA

CITIZENS FOR STEVE pec MICHIGAN FARM LANSING
MARINO BUREAU PAC MI 48909- 06/10/16 $1,000.00 $1,000.00
517481-CAN PO BOX 30960 0000
CITIZENS FOR STEVE ype ae DEALERS OF MI | aNnsInNG
MARINO aa N. WALNUT St.  MI-48933- 06/18/16 $1,000.00 $1,000.00
517481-CAN -  Q000

SUITEB
CITIZENS FOR STEVE = jypgcep MICHIGAN CHAMBER LANSING
MARINO | PAC MI 48933- 06/21/16 $1,000.00 $1,000.00
517481-CAN 600 S. WALNUT 0000

DAVID E. ANN
CITIZENS FOR STEVE — ype CHRISTENSEN ue
MARINO 3708 PRAIT ROAD — bay, 10/31/17 $1,000.00 $1,000.00
517481-CAN : ATTORNEY-CHRISTENSEN 0000

LAW

 

CITIZENS FOR STEVE DIRECT AUTO DEALERS OF MI LANSING _ 09/12/16 $1,000.00 $2,000.00
MARINO PAC MI 48933-
517481-CAN 0000

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Michigan Campaign Finance Contribution Search Results

209 N. WALNUT ST.

 

 

 

 

 

 

SUITE B

HELEN DEVOS GRAND
CITIZENS FOR STEVE
MARINO SCIRECT 126 OTTAWA AVENW RAPIDS gente $1,000.00 $1,000.00

SUITE 500 MI 49503-
517481-CAN

HOMEMAKER-HOMEMAKER 0000

RICHARD DEVOS GRAND
CITIZENS FOR STEVE
MARINO DIRECT 126 OTTAWA AVENW = RAPIDS —— 9/30/16 $1,000.00 $1,000.00
Sie Gad SUITE 500 MI 49503-

RETIRED-RETIRED 0000

RICHARD DEVOS JR. | GRAND
CITIZENS FOR STEVE
MARINO DIRECT 126 OTTAWA AVE NW ee 07/01/16 $1,000.00 $1,000.00
FONT ES aa SUITE 500 MI 49503-

EXECUTIVE-SELF 0000

STEVE MARINO
CITIZENS FOR HARRISON
STEVE MARINO DIRECT 37884 LAKESHORE DRIVE = TowNsHIP —_02/08/17 $1,000.00 $1 322.83
517481-CAN Se eae cn ence  MI48045-0000
HOUSE OF REPRESENTATIVES

CITIZENS FOR STEVE —pyppcep REALTORS PAC OF MI LANSING
MARINO 720 N. WASHINGTON MI48901- 06/16/16 $1,000.00 $1,000.00
517481-CAN AVE. 0000

MICHAEL JANDERNOA GRAND
CITIZENS FOR STEVE
CITIZENS FORSTEVE piRECT 171 MONROE AVENW _ RAPIDS
MARINO 08/03/16 $1,000.00 $1,000.00
ee SUITE 410 MI 49503-

~ RETIRED-RETIRED 0000

 

CITIZENS FOR STEVE MARINO. DIRECT SHAMROCK PAC LIVONIA

08/03/16 $1,000.00 $2,000.00

 

 

 

517481-CAN PO BOX 531392 MI 48153-0000
JOAN WEBBER
CITIZENS FOR STEVE DIRECT 49536 GOULETTE NEW
MARINO POINT DR. BALTIMORE _ 10/10/16 $1,000.00 $1,000.00
517481-CAN HOMEMAKER- MI 48047-0000
HOMEMAKER
CITIZENS FOR STEVE DIRECT DELTA PAC OKEMOS
MARINO 4100 OKEMOS MI 48864- 05/26/16 $750.00 $750.00
517481-CAN ROAD 0000
EAST
CITIZENS FOR STEVE DIRECT CHATFIELD MAJORITY LANSING
ARINO FUND MI 48826- 10/08/16 $750.00 $2,750.00
517481-CAN PO BOX 1013

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CITIZENS FOR STEVE DIRECT BLUE CROSS BLUE SHIELD LANSING 06/14/17 $500.00 $1,000.00
MARINO OF MI PAC MI 48933-
517481-CAN 232 S.CAPITOL AVE.MC 0000
LIOA
CITIZENS FOR STEVE ase = a PORJUSTICE + sngING
MARINO 6630 CENTURION STE MI 48917- —_—‘:10/27/17 $500.00 $500.00
517481-CAN 120 * 0000
CITIZENS FOR STEVE pirect #EALTH PAC LANSING
MARINO 110 W. MICHIGAN AVE MI 48933- 03/16/17 $500.00 $500.00
517481-CAN STE. 1200 0000
CITIZENS FOR STEVE MghbeuoesS ee DETROIT
DIRECT CARPENTERS PAC
MARINO MI 48243- 12/08/17 $500.00 $500.00
517481-CAN 400 TOWER RENAISSANCE 0000
7 CENTER STE. 1010
EAST
CITIZENS FOR STEVE DIRECT CHATFIELD MAJORITY | yNcNG
MARINO FUND MI 48826- 10/30/16 $500.00 $3,250.00
517481-CAN PO BOX 1013
0000
CITIZENS FOR STEVE = pypgcr MOVING MICHIGAN LANSING
MARINO FORWARD FUND II MI 48933- 07/25/16 $500.00 $500.00
517481-CAN . 106 W. ALLEGAN SUITE 200 0000
CITIZENS FOR STEVE pirect HEALTH PAC LANSING
MARINO 110 W. MICHIGAN AVE —_ MI 48933- —_- 05/14/18 $500.00 $3,500.00
517481-CAN STE. 1200 0000
CITIZENS FORSTEVE — pypgcr MICHIGAN FARM BUREAU LANSING
MARINO PAC MI 48909- 06/14/18 $500.00 $500.00
517481-CAN PO BOX 30960 0000
CITIZENS FOR STEVE ue oan DEALERS OF MI | ansInG
MARINO MI 48933- 06/03/18 $500.00 $1,250.00
517481-CAN 209 N. WALNUT ST. 0000
” SUITEB
CITIZENS FOR STEVE DIRECT MI RESTAURANT ASSN LANSING
MARINO PAC MI 48933- 09/24/18 $500.00 $600.00
517481-CAN 225 W. WASHTENAW 0000
CITIZENS FOR STEVE pirect DELTA PAC OKEMOS
MARINO 4100 OKEMOS MI 48864- 05/26/17 $500.00 $750.00
517481-CAN ROAD 0000

 

CITIZENS FOR STEVE DIRECT MI BEER & WINE LANSING 06/07/18 $500.00 $4,400.00

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